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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff                 Case No. 03 CR 90
                         ,
                                              Hon. Harry D. Leinenweber
            v.

MARIANO MORALES, et al.,


                   Defendants.


                       MEMORANDUM OPINION AND ORDER

     Before the Court are the Motion for a New Trial filed by

Defendant Mariano Morales (“Morales”), a Motion by Defendant

Miguel Rodriguez (“Rodriguez”) for Attorney Review of the Jury’s

Trial Notes and for an Evidentiary Hearing, and the Government’s

Response.    For the reasons stated herein, the Motions filed by

Defendants Morales and Rodriguez are denied.

                              I.   BACKGROUND

     On October 6, 2008, the Court selected twelve anonymous

jurors and six alternate jurors to serve in the prosecution of

this multi-defendant gang racketeering case.             After a two-month

trial, on December 10, 2008, the jury convicted Defendants

Mariano     Morales,     Arturo    Barbosa,     Harold    Crowder,     Miguel

Rodriguez, Brian Hernandez, Romel Handley, and Lionel Lechuga on

multiple criminal counts. The jury was unable to reach a verdict
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as to Defendant Stephen Perez.         After polling the jurors in open

court, the general verdict was entered against all Defendants,

except Perez who agreed to a mistrial.

     While     the    trial     was    proceeding       and    during     jury

deliberations, the Court received several notes from the jurors,

some of which are the basis for Defendants’ current motions and

are discussed below.        Each of the notes received by the Court

from the jurors was preserved, as was the Court’s response.

     On October 8, 2008, early in the trial, the Court received

a note from Juror 107, which read as follows:

             “This is just a matter of jury protocol and
             not specifically about the case, but a
             specific juror is continually speaking about
             what lawyers do not like in terms of jurors
             and this juror specifically states that
             ‘Teachers are Liberal’ usually they throw
             ‘teachers’    off   the    jury.       Other
             inappropriate conversation also includes
             discussing what people wear, suits or
             professional attire. While these comments,
             ostensibly are not directed at any specific
             juror, our professions are listed on the
             sign in sheet and these types of comments
             related to how a juror might make a decision
             regarding the case are inappropriate and for
             the jurors who are the profession the juror
             is speaking of could be overheard or
             believed to be intimidation, coercion or
             alienation. The statements were made before
             the (overheard) jury had been selected in
             the courtroom (washing area) and now that
             the jury has been selected they are being
             repeated and made in the jury room. Can you
             address this inappropriateness? Thank you.”




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After receiving this note, the Court orally instructed the jury

not to discuss the case with one another or others until the

evidence concluded and they received further instructions.                 The

Court   also   instructed     the   jury    to   refrain   from    evaluating

“witnesses, the facts of the case, the jury selection, the

lawyers, the judges” and that each juror keep opinions to himself

or herself.       After this instruction, the case continued for

several   weeks    without    further      similar   notes.       After   final

arguments and the Court’s instructions, the alternate jurors were

dismissed, and the jury began its deliberations.

     During deliberations, the Court received a handful of notes

from the foreperson requesting assistance from the Court. At the

end of the day on December 9, 2008, the Court received the

following note from the foreperson:

            “We had several incidents today where one
            juror became verbally abusive to the other
            members   of   the  jury   and    especially
            aggressive to one particular juror. I have
            tried to restore a professional atmosphere
            in the jury room but I have not been
            successful in doing that.   I need help in
            dealing with this situation if the jury is
            to continue to work effectively.”

After discussion with counsel, the Court sent the following

written response:

            “It is important that jurors function
            together as a whole. While it is healthy to
            have spirited exchanges of ideas, it is,
            however, most important that each individual
            juror respect the views of the other jurors

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             and discuss the issues without aggression.
             Please work together with the aim of
             arriving at a decision compatible with the
             individual views of each juror.”

      The next day, December 10, 2008, the Court received another

note from the foreperson:

             “We have reached a unanimous decision on 7
             of the defendants. On the 8th defendant we
             are not unanimous with a vote of 11 to 1.
             We do not believe that we can reach a
             unanimous decision no matter how long we
             continue our deliberations.      Will our
             inability to reach a decision on one
             defendant affect our verdict on the other
             defendants?”

In response to this note, the Court sent the following written

response:

             “The answer to your question whether your
             inability to reach a decision on one
             defendant affects your verdict on the
             remaining defendants is ‘no.’ You may, if
             you choose, issue verdicts at this time on
             any defendant about which there is a
             unanimous decision.     You can do so by
             signing and dating the appropriate verdict
             forms and advising the marshal.     If you
             choose to return verdicts on any of the
             defendants at this time, your verdicts will
             be final. I will, however, request that you
             continue deliberating on the remaining
             defendant with the object of reaching a
             unanimous decision on that defendant.”

      A few hours later, the foreperson informed the Court that

the   jury   reached    a   final   verdict     on   seven   of   the    eight

defendants.    The verdicts were published in open court, and each

juror was polled without any dissent.            The Court instructed the


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jury to return to its deliberations to “make every reasonable

effort” to reach a unanimous verdict as to the eighth defendant,

Mr.   Perez.      The    Court      repeated   its   standard   instruction,

requesting that the jurors to consult with one another, listen to

the views of others, discuss differences with an open mind, and

deliberate with the goal of reaching an agreement which is

consistent with the individual judgment of each juror.

      About one hour later, the foreperson informed the Court that

the   jury     felt     that   it    had   reached    an   impasse    in   its

deliberations.        The Court received the following note from the

foreperson:

             “The individual juror that has an opinion
             that is contrary to the other 11 has stated
             that they [sic] have what they believe to be
             reasonable doubts that will not change no
             matter how discussion/deliberations occur.
             The jury feels that we are at an impasse
             that cannot be overcome.”

At this point, the Court declared a mistrial as to the eighth

defendant, Mr. Perez.

      The Court then commenced the portion of the trial relating

to the Apprendi sentencing factors.            None of the parties offered

any additional evidence at the Apprendi phase. The next morning,

December 11, 2008, before counsel began closing arguments with

respect to the Apprendi factors, the Court received a note from

Juror 107, which read as follows:



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            “I am writing this note to say that as a
            juror in this trial, I spoke to some of the
            loud & boisterous jurors in early October
            about   making  remarks   about   witnesses,
            attorney’s and discussing the case.     This
            behavior went on to last about 3 wks. Jokes
            and other inferences about the case were
            made. It did stop after I made the request,
            but it did not completely cease. The only
            time I had to raise my voice in this case
            was during deliberations and it was because
            the same overbearing loud people would never
            let the voice and doubts of another juror be
            heard.   Throughout this trial I have been
            both professional and concerned about both
            mercy and justice. I will continue to do so
            and it is my prayer that all will be given
            justice under every oath that all of us have
            taken.”

The Court read Juror 107's note to counsel, and Defendants moved

for   a   mistrial    and   requested    that   each   juror    be    questioned

individually regarding the extent to which the jurors discussed and

prejudged    the     case   prior   to   deliberations.        The    Government

objected, and the Court denied the motion and suggested that the

Defendants file a written motion.

      After the attorneys presented their arguments regarding the

Apprendi factors and the Court issued instructions, the jury

returned to deliberations and arrived at a unanimous verdict as to

each defendant later the same day.              The Court polled the jury

regarding    each    juror’s   Apprendi     findings,    and    all    responded

affirmatively as to the verdict.            The verdict itself showed that

the jury gave separate consideration to each defendant and each



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factor.     The Court also received and read in open court the

following note, signed by all of the jurors:

            “We the Jurors realize that the gang
            activities of the Insane Deuces in Aurora have
            trained young boys to commit shootings;
            consequently,     many    are     responsible,
            specifically the leadership of this gang. We
            believe that this violence must stop. We hope
            and pray that justice and mercy will be
            served. And in respect of all who lost their
            lives in this conspiracy, including the
            families of . . . [illegible] . . . We wish to
            express   our   deepest   sorrows   to   their
            families.”

     Based    primarily     on   the    final   note   from   Juror    107,   on

January 3, 2009, Defendant Rodriguez filed the current motion,

requesting that the Court permit attorney review of the jury’s

trial notes and schedule a hearing with Juror 107 and the jury

foreperson to determine whether impermissible jury bias permeated

the trial and deliberations.           Rodriguez argued that a hearing may

reveal jury bias or other misconduct that would violate his Fifth

and Sixth Amendment rights.        On January 5, 2009, Defendant Morales

made similar arguments in a motion for a new trial.

     In response to these motions, the Government cites case law

indicating that Defendants’ arguments about alleged jury misconduct

do not involve prejudice requiring a new trial or an evidentiary

hearing.     In an abundance of caution, however, the Government

recommends a limited hearing to expand the record for appeal

regarding the discreet issue raised by the note from Juror 107.


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                              II.     DISCUSSION

     After reviewing the law and the facts of this case, the Court

has determined that neither a hearing nor an in camera inspection

or attorney review of the jurors’ notes is required. Likewise, the

Court rejects the motion for a new trial based on alleged juror

misconduct.

     The case law is clear that the Court should not invade a

jury’s decision-making process unless it has very good reason to

do so.   See Tanner v. U.S., 483 U.S. 107, 119-21 (1987); U.S. v.

Briggs, 291 F.3d 958, 963-64 (7th Cir., 2002).                    Accordingly,

“[c]ourts are reluctant to haul jurors in after they have reached

a verdict in order to probe for potential influences of bias,

misconduct, or extraneous influences.”               U.S. v. Infelise, 813

F.Supp. 599, 605 (N.D.Ill., 1993). Post-trial hearings should only

be held if the defendant comes forward with “clear, strong,

substantial, and incontrovertible evidence that a specific, non-

speculative     impropriety     has    occurred.”        Id.      The   Court’s

determination as to whether a post-trial hearing is required is

reviewed for an abuse of discretion. See U.S. v. Sanders, 962 F.2d

660, 668-69 (7th Cir., 1992).

     No per se rule requires a court to investigate the internal

workings of a jury when a defendant asserts jury misconduct,

however, case law has established guidelines based on whether the



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alleged influence on a jury is external or internal.                  See Tanner,

483 U.S. at 119-27; Infelise, 813 F.Supp. at 605.                     Courts are

required to investigate allegations that external influences have

tainted    jury    deliberations,     but     courts    are   prohibited      from

inquiring into internal abnormalities except “in the gravest and

most    important    cases.”        Tanner,    483     U.S.   at     119.     This

external/internal distinction is supported by “[s]ubstantial policy

considerations,”      including      efforts     to    insulate      the    jury’s

deliberative process, to encourage full and frank discussion in the

jury room, to promote finality of the verdict, and to protect

jurors against annoyance and embarrassment. See id. at 119-27; see

also   Infelise,    813   F.Supp.    at   604-05      (discussing     the   policy

considerations pertaining to Rule 606(b)).

       In a case involving an alleged external influence on the jury,

once a defendant has made a “colorable showing of extrinsic

evidence” to overcome the presumption of jury impartiality, the

court must     investigate the alleged impropriety and determine

whether the jury was tainted.          U.S. v. Davis, 15 F.3d 1393, 1412

(7th Cir., 1994); Infelise, 813 F.Supp. at 605.                    “A defendant’s

mere allegations of taint or his unsubstantiated suspicions do not

necessitate inquiry by the court.” Davis, 15 F.3d at 1412. If the

court determines that a post-trial investigation is required, the

Seventh Circuit has held that Federal Rule of Evidence 606(b)



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severely restricts inquiry, forbidding judges from inquiring “into

the jurors’ beliefs, opinions, discussions, grounds, etc., save as

necessary     to   determine     the     existence    and    content    of    any

unauthorized communication made to the jury.”               Sanders, 962 F.2d

at 673.    Questions are limited to “whether extraneous prejudicial

information was improperly brought to the jury’s attention” and

“whether any outside influence was improperly brought to bear upon

any juror.”     Davis, 15 F.3d at 1412.

       In contrast with cases involving external influence, post-

verdict interrogation of jurors is unnecessary and inappropriate

when    the    misconduct      alleged     consists     only    of     premature

deliberations or internal pressure.           See Infelise, 813 F.Supp. at

605 (“Clearly, investigating intrajury occurrences is inappropriate

under Rule 606(b).”); see, e.g., U.S. v. Logan, 250 F.3d 350, 378-

81 (6th Cir., 2001); U.S. v. Williams-Davis, 90 F.3d 490, 505 (D.C.

Cir., 1996).       Moreover, the Court need not hold an evidentiary

hearing merely because intrajury misconduct is alleged.                 See U.S.

v. Kimberlin, 805 F.2d 210 (7th Cir., 1986).                 For example, the

Seventh Circuit affirmed a district court’s denial of a motion for

a new trial and its refusal to conduct an evidentiary hearing after

a juror made an inappropriate remark to other jurors before

deliberations indicating that he believed the defendant was guilty

and should be hanged. See id. at 243-44 (holding that the “hearing



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would be fruitless unless these statements, if made, would be

presumed to be prejudicial”).

       In this case, there is simply no “reasonable probability” that

the jury’s verdict was affected by external influence.                        See

Sanders, 962 F.2d at 668.             None of the notes from the jury

implicated any outside influence or contacts, nor did they alert

the Court to potential prejudice that would pose the need for a

mistrial. The first note sent by Juror 107 about the internal jury

discussions prior to deliberations was written on one of the first

days of the two-month trial.         After receiving this note, the Court

instructed the jury in open court regarding proper jury etiquette

and the importance of waiting to discuss the evidence and the

arguments until the deliberations phase of the trial.                 The Court

determined that these instructions were proper and cured any

potential internal problems among the jurors. District courts have

“broad discretion to remedy prejudicial influences on a jury.” Id.

at 671.     The Court has every reason to believe that the problem of

inappropriate behavior discussed in this note did not involve any

outside pressure and was cured by the instruction issued by the

Court.

       Similarly, the notes from the foreperson during deliberations

did not express or imply any external pressure or misconduct on the

part   of   the   jury.     The   foreperson     described     dissension     and

discussion among the jurors that is typical, and indeed, desirable

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in jury deliberations.        The Court instructed the jurors to treat

one another with respect and to listen to one another’s views, and

the jury was able to come to a unanimous verdict on seven of the

eight defendants the same day and a unanimous determination as to

the Apprendi factors.         The jury’s internal cooperation and deep

consideration of the complex issues of the case is evidenced

further by the note signed by all of the jurors given to the Court

at the time that the Apprendi verdict was read.

      Finally,    Juror    107's   last   note    does   not   imply   external

pressure, jury misconduct, or potential prejudice requiring an

evidentiary hearing or a new trial.           Juror 107 informed the Court

that, during the beginning of the trial, “loud and boisterous

jurors” discussed and made jokes and inferences about the case,

witnesses, and attorneys. She explained that this behavior stopped

after she made her request, presumably her first note to the Court

in October, but it did not cease completely.             Juror 107 went on to

explain that she had to raise her voice during deliberations in

order to be heard by the other jurors. The Court determined at the

time that, based on the text of the note and its context, the note

related to Juror 107's reasons for raising her voice during

deliberations about which the foreman had complained.                      After

reviewing the record and considering Defendants’ arguments, the

Court comes to the same decision at this time.              Juror 107's final



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note   does     not   require   a   hearing      to    determine    possible   jury

misconduct, bias, or external influence.

       Based on the case law and the record in this case, the Court

determines that a hearing at this time undoubtably would invoke

evidence of the jury’s decision-making process and would impose an

unnecessary burden on the individual jurors.                  See Tanner, 483 at

119-21.       Furthermore, the Court finds that, pursuant to the

limitations set out in case law and in Rule 606(b), a hearing would

be fruitless because the record is deplete of any evidence of

improper external influence.            See Kimberlin, 805 F.2d at 243-44.

In sum, Defendants have failed to carry their burden of showing the

requisite potential prejudice. Therefore, on this basis, the Court

denies    the   motion   for    a   new   trial       and   the   requests   for   an

evidentiary hearing and review of the jurors’ trial notes.

                                III.    CONCLUSION

       For the reasons stated herein, Defendants’ Motions for a New

Trial, for Attorney Review of The Jury’s Trial Notes, and for a

Hearing are denied.

IT IS SO ORDERED.




                                                Harry D. Leinenweber, Judge
                                                United States District Court
DATE: 2/10/2009


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